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            Case 18-35672 Document 1427 Filed in TXSB on 02/21/19 Page 2 of 2
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            3. The procedures in paragraph 5 of the motion are incorporated herein. The Court hopes that the protocol
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    to be developed by McKinsey will lead to a comprehensive national standard for all professionals.
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        Signed: February 21, 2019.
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                                                                DAVID R. JONES
                                                                UNITED STATES BANKRUPTCY JUDGE



        ** The Court has compared this order to the version that was originally submitted with the motion. The Court greatly
        appreciates the concern expressed by the moving parties that consultation with Mar-Bow had not yet occurred and therefore
        the request for a stay of all discovery related to the retention application was being withdrawn. Such actions are an indicia of
        the good faith that the Court requires of all parties. On its own motion, the Court stays all discovery related to the retention
        application until such time as a request is made for a hearing. At such time, the Court will vacate the stay and an orderly
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        discovery process will be implemented.
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